Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 1 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 2 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 3 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 4 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 5 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 6 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 7 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 8 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                         Main Document    Page 9 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 10 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 11 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 12 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 13 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 14 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 15 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 16 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 17 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 18 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 19 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 20 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 21 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 22 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 23 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 24 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 25 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 26 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 27 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 28 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 29 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 30 of 31
Case 8:15-bk-11875-MW   Doc 226 Filed 01/19/16 Entered 01/19/16 16:14:26   Desc
                        Main Document     Page 31 of 31
